                                                                   (SPACE BELOW FOR FILING STAMP ONLY)
     Case 1:12-cr-00040-LJO-SKO Document 90 Filed 07/02/13 Page 1 of 3


 1           ROGER T. NUTTALL #42500
              NUTTALL & COLEMAN
 2                 2445 Capitol Street, Suite 150
                       FRESNO, CA 93721
 3                    PHONE (559) 233-2900
                       FAX (559) 485-3852
 4
 5         ATTORNEYS FOR Defendant,
                    CHRISTIAN BARRON-RUEDA
 6
 7
 8                                   UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10                                                  ********
11    UNITED STATES OF AMERICA,                        Case No.: 1:12-CR-00040 LJO-SKO
12             Plaintiff,                                   STIPULATION TO CONTINUE
                                                            SENTENCING HEARING AND
13           vs.                                           SENTENCING SCHEDULE AND
                                                                     ORDER
14    CHRISTIAN BARRON-RUEDA,
15                   Defendant.
16
17           IT IS HEREBY STIPULATED by and between the parties hereto that the Sentencing
18   Hearing currently scheduled for July 22, 2013, at 8:30 a.m. be continued to August 5, 2013, at
19   8:30 a.m. before the Honorable Lawrence J. O'Neill. The need for a continuance is based upon
20   counsel's need for appropriate time to address the Presentence Report as counsel has been in trial
21   since last week, starting June 24, 2013. Counsel needs time to fully prepare the informal
22   objections, as well as a suitable Sentencing Memorandum.
23   ///
24   ///
25   ///
26
27
28
     Case 1:12-cr-00040-LJO-SKO Document 90 Filed 07/02/13 Page 2 of 3


 1          IT IS ALSO HEREBY STIPULATED that the following proposed sentencing schedule
 2   be followed:
 3          Informal Objections due:                                                        July 15, 2013
 4          Sentencing Memorandum due:                                                      July 29, 2013
 5          Judgment and Sentencing Date:                                                 August 5, 2013
 6          These circumstances have been related to Assistant United States Attorney Kathleen
 7   Servatius, who expresses no objection to the requested continuance.
 8          The parties stipulate and agree that the interests of justice served by granting this
 9   continuance outweigh the best interests of the public and the defendant in a speedy trial and that
10   the delay from the continuance shall be excluded from the calculation of time under the Speedy
11   Trial Act pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv).
12          It is your Declarant’s opinion that a continuance such as requested shall not prejudice any
13   party concerned with this matter.
14          IT IS SO STIPULATED.
15          DATED: July 1, 2013.                   NUTTALL & COLEMAN
16
17                                                         By: /s/ Roger T. Nuttall
                                                            ROGER T. NUTTALL
18                                                          Attorneys for Defendant,
                                                            CHRISTIAN BARRON-RUEDA
19
20          DATED: July 1, 2013.                   BENJAMIN B. WAGNER
                                                        United States Attorney
21
22
                                                           By: /s/ KATHLEEN SERVATIUS
23                                                                 KATHLEEN SERVATIUS
                                                                   Attorney for Plaintiff
24
25
26
27
28

                                                      2
     Case 1:12-cr-00040-LJO-SKO Document 90 Filed 07/02/13 Page 3 of 3


 1                                              ORDER
 2            Good cause appearing therefor,
 3            IT IS HEREBY ORDERED that the Sentencing Hearing currently scheduled on July
 4   22, 2013, at 8:30 a.m., is continued to August 5, 2013, at 8:30 a.m.
 5            IT IS FURTHER ORDERED that the above-proposed sentencing schedule shall be
 6   followed.
 7   IT IS SO ORDERED.
 8   Dated:      July 2, 2013                     /s/ Lawrence J. O'Neill  66h44d
                                                 UNITED STATES DISTRICT JUDGE
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                     3
